                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN


 KIMBERLEE VEN HOUSEN

                       Plaintiff,                       Case No.: 20-CV-1097

           v.

 RV WORLD, INC OF NOKOMIS d/b/a
 GERZENY’S RV WORLD,
 WINNEBAGO INDUSTRIES, INC. and
 MERCEDES-BENZ USA, LLC,

                       Defendants.


 STATE FARM MUTUAL AUTOMOBILE
 INSURANCE COMPANY
                                                        Case No.: 20-CV-1099
                       Plaintiff,

           v.

 WINNEBAGO INDUSTRIES, INC. and
 MERCEDES-BENZ USA, LLC,

                       Defendants.


  DEFENDANT WINNEBAGO, INDUSTRIES, INC.’S ANSWER AND AFFIRMATIVE
        DEFENSES TO MERCEDES-BENZ USA, LLC’S CROSS-CLAIM


       NOW COME the above-named defendant, Winnebago, Inc., by their counsel,

Cade Law Group, LLC, and as for an Answer and Affirmative Defenses to the Cross-

Claim of Mercedes-Benz USA, LLC, hereby admits, denies, and shows to the Court as

follows:

       1.       Realleges and incorporates herein by reference as though fully set forth the

plaintiffs’ Amended Complaint as limited by the Answer and Affirmative Defenses of the



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defendant, MBUSA.
      ANSWER: No response is due to Paragraph 1 of the Cross-Claim. To the

extent a response is due, Winnebago denies the allegations contained therein and

puts Mercedes-Benz USA, LLC to hits proof thereon.

      2.      That if it is found that there is joint or sole negligence and/or liability, whether

strict or otherwise on the part of the codefendants, Winnebago and/or Gerzenys, then,

and in that event, MBUSA will be entitled to contribution and/or indemnity from the

codefendants, Winnebago and Gerzenys, in accordance with the laws of the State of

Wisconsin.

        ANSWER: Winnebago denies the allegations contained in Paragraph 2 of

the Cross-Claim. Winnebago further alleges that the contract(s) between the

parties control as to duties and obligations.

                                AFFIRMATIVE DEFENSES

        And as and for separate and affirmative defenses, this answering party,

Winnebago, Inc., by its Counsel, Cade Law Group, LLC, hereby state and allege to the

Court as follows:

      1.      Winnebago adopts and incorporates by reference its answer and affirmative

defenses to the complaints of Plaintiff Kimberley Ven Housen and State Farm Mutual

Insurance Company as if fully stated here.

      2.      Mercedes-Benz USA, LLC, upon information and belief, has failed to state

a claim upon which relief can be granted.

      3.      Winnebago reserves all other affirmative defenses that may be waived if not

pled and the right to amend this answer to assert additional defenses as discovery

proceeds.



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        WHEREFORE, for the foregoing reasons, this answering party, Winnebago Inc.

hereby demands judgment, dismissing this cross-claim, as well as the filed complaints,

with prejudice, on their merits, together with taxable costs, disbursements, attorney’s fees

and for such other further relief as this Court deems just and equitable.

       Dated this 15th day of December, 2020.

                                             CADE LAW GROUP LLC



                                             By: ________________________________
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